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                        Exhibit 4
    Case 1:17-cv-00493-JAO-RT Document 202-5 Filed 01/24/24 Page 2 of 38 PageID.5586

         CENTER FOR DRUG EVALUATION AND
                    RESEARCH
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                           APPLICATION NUMBER:


                            020687Orig1s020
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    RISK ASSESSMENT and RISK MITIGATION
                 REVIEW(S)




                                   Exhibit 4
                                                                         FDA 0673
Case 1:17-cv-00493-JAO-RT Document 202-5 Filed 01/24/24 Page 3 of 38 PageID.5587




                                                                     FDA 0674
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     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
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     /s/
     ----------------------------------------------------
                                (b) (6)


     03/29/2016
     adding to for the record




                                                                                             FDA 0675
Reference ID: 3909487
Case 1:17-cv-00493-JAO-RT Document 202-5 Filed 01/24/24 Page 5 of 38 PageID.5589




                                                                     FDA 0676
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                                                                     FDA 0677
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                                                                     FDA 0678
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                                                                     FDA 0679
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       Case 1:17-cv-00493-JAO-RT Document 202-5 Filed 01/24/24 Page 10 of 38 PageID.5594


          )HGHUDWLRQ 1$) FOLQLFDOSUDFWLFHJXLGHOLQHVLQFOXGHDVWDQGDUGVWDWLQJWKDWGRFXPHQWDWLRQPXVWVKRZWKDW
          WKHSDWLHQWDIILUPVWKDWVKHXQGHUVWDQGVWKHSURFHGXUHDQGLWVDOWHUQDWLYHVWKHSRWHQWLDOULVNVDQGEHQHILWVDQG
          WKDWKHUGHFLVLRQLVYROXQWDU\$SSUR[LPDWHO\ (b)     (4) RIWKHXVHRI0LIHSUH[LQWKH86LVWKURXJK3ODQQHG
          3DUHQWKRRG)HGHUDWLRQRI$PHULFD 33)$ DQG1$)DIILOLDWHGPHPEHUVZKHUHSDWLHQWFRXQVHOLQJDQG
          LQIRUPHGFRQVHQWLVVWDQGDUGRIFDUH7KHSUDFWLFHRIWUHDWLQJZRPHQZLWK0LIHSUH[LVZHOOHVWDEOLVKHGE\
          WKHVHRUJDQL]DWLRQVDQGWKHLUDVVRFLDWHGSURYLGHUVZKRFKRRVHWRSURYLGHWKLVFDUHWRZRPHQ,QDGGLWLRQWKH
          0HGLFDWLRQ*XLGHZKLFKPXVWEHSURYLGHGWRWKHSDWLHQWXQGHU&)5SDUWFRQWDLQVWKHVDPHULVN
          LQIRUPDWLRQFRQWDLQHGLQWKH3DWLHQW$JUHHPHQWIRUP
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          7KHVDIHW\SURILOHRI0LIHSUH[LVZHOOFKDUDFWHUL]HGDQGLWVULVNVZHOOXQGHUVWRRGDIWHUPRUHWKDQ\HDUVRI
          PDUNHWLQJ6HULRXVDGYHUVHHYHQWVDUHUDUHDQGWKHVDIHW\SURILOHRI0LIHSUH[KDVQRWVXEVWDQWLDOO\FKDQJHG
          7KHUHPRYDORIWKH0HGLFDWLRQ*XLGHDVD5(06HOHPHQWDQGRIWKH3DWLHQW$JUHHPHQWIRUPLVQRWH[SHFWHG
          WRDGYHUVHO\LPSDFWWKHDELOLW\RIWKH5(06WRHQVXUHWKDWWKHGUXJEHQHILWVRXWZHLJKLWVULVNV7KHEHQHILW
          ULVNEDODQFHRI0LIHSUH[UHPDLQVIDYRUDEOHLQWKHSUHVHQFHRIWKHIROORZLQJ
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               x 5HWHQWLRQRI(7$68V$DQG&LQWKH0LIHSUH[5(067KH3UHVFULEHU¶V$JUHHPHQWIRUPUHTXLUHGIRU
                     SUHVFULEHUFHUWLILFDWLRQXQGHU(7$68$ZLOOFRQWLQXHWRUHTXLUHWKDWSURYLGHUV³H[SODLQWKH
                     SURFHGXUHIROORZXSDQGULVNVWRHDFKSDWLHQWDQGJLYHKHUDQRSSRUWXQLW\WRGLVFXVVWKHP´7KH
                     5(06ZLOOFRQWLQXHWRUHTXLUHWKDW0LIHSUH[EHGLVSHQVHGWRSDWLHQWVRQO\LQFHUWDLQKHDOWKFDUH
                     VHWWLQJVVSHFLILFDOO\FOLQLFVPHGLFDORIILFHVDQGKRVSLWDOVE\RUXQGHUWKHVXSHUYLVLRQRIDFHUWLILHG
                     SUHVFULEHU7KLVHQVXUHVWKDW0LIHSUH[FDQRQO\EHGLVSHQVHGE\RUXQGHUWKHGLUHFWVXSHUYLVLRQRID
                     FHUWLILHGSUHVFULEHU
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               x &RPPXQLFDWLRQRIULVNVWKURXJKSDWLHQWODEHOLQJ7KH0HGLFDWLRQ*XLGHZKLFKZLOOEHUHWDLQHGDV
                     SDUWRIODEHOLQJFRQWDLQVWKHVDPHULVNLQIRUPDWLRQFRYHUHGXQGHUWKH3DWLHQW$JUHHPHQWIRUP
                     8QGHU&)5SUHVFULEHUVZKRGLVSHQVH0LIHSUH[DUHUHTXLUHGWRSURYLGHWKH0HGLFDWLRQ
                     *XLGHWRSDWLHQWV7KH3UHVFULEHU¶V$JUHHPHQWIRUPDOVRUHPLQGVWKHSUHVFULEHUWRSURYLGHWKH
                     0HGLFDWLRQ*XLGHWRWKHSDWLHQW
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               x ,QIRUPDWLRQIURPSXEOLVKHGDUWLFOHVRQHVWDEOLVKHGFOLQLFDOSUDFWLFHV7KLVLQIRUPDWLRQLQFOXGLQJ
                     FOLQLFDOJXLGHOLQHVDQGSXEOLFDWLRQVLQGLFDWHVWKDWFRPSUHKHQVLYHSDWLHQWFRXQVHOLQJDQGLQIRUPHG
                     FRQVHQWSULRUWRPHGLFDORUVXUJLFDODERUWLRQWUHDWPHQWLVVWDQGDUGRIFDUHZKHQXVLQJ0LIHSUH[
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          :HKDYHDOVRGHWHUPLQHGWKDWWKHLQIRUPDWLRQLQWKHHIILFDF\VXSSOHPHQWVXSSRUWVFKDQJHVWRWKHJRDOVRIWKH
                                                       (b) (6)
          0LIHSUH[5(06:HFRQFXUZLWK                       UHFRPPHQGDWLRQWKDWWKH5(06JRDOVVKRXOGEHPRGLILHGIURP
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               $ 7RSURYLGHLQIRUPDWLRQWRSDWLHQWVDERXWWKHEHQHILWVDQGULVNVRI0LIHSUH[EHIRUHWKH\PDNHD
                     GHFLVLRQZKHWKHUWRWDNHWKHGUXJ
               % 7RPLQLPL]HWKHULVNRIVHULRXVFRPSOLFDWLRQVE\UHTXLULQJSUHVFULEHUVWRFHUWLI\WKDWWKH\DUH
                     TXDOLILHGWRSUHVFULEH0LIHSUH[DQGDUHDEOHWRDVVXUHSDWLHQWDFFHVVWRDSSURSULDWHPHGLFDOIDFLOLWLHV
                     WRPDQDJHDQ\FRPSOLFDWLRQV
               WR
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          7KHJRDORIWKH0LIHSUH[5(06LVWRPLWLJDWHWKHULVNRIVHULRXVFRPSOLFDWLRQVDVVRFLDWHGZLWK0LIHSUH[E\
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                D 5HTXLULQJKHDOWKFDUHSURYLGHUVZKRSUHVFULEH0LIHSUH[WREHFHUWLILHGLQWKH0LIHSUH[5(06
                     3URJUDP
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            1DWLRQDO$ERUWLRQ)HGHUDWLRQ0HPEHUVKLSLQIRUPDWLRQDFFHVVHGRQWKHLQWHUQHWDWKWWSSURFKRLFHRUJKHDOWKFDUH
          SURIHVVLRQDOVQDIPHPEHUVKLSRQ0DUFK
          
            1DWLRQDO$ERUWLRQ)HGHUDWLRQ&OLQLFDO3ROLF\*XLGHOLQHV IRUDERUWLRQFDUH 5HYLVHGHGLWLRQSDJHVDFFHVVHG
          RQWKHLQWHUQHWDWKWWSSURFKRLFHRUJZSFRQWHQWXSORDGVB1$)B&3*VSGIRQ0DUFK
                                       (b) (6)
                                               0LIHSUH[3RVWPDUNHWLQJ6DIHW\5HYLHZGDWHG$XJXVW
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                                                                                                                                                   FDA 0681
Reference ID: 3909589
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                                                                     FDA 0683
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          7KHDERYHFKDQJHVWRWKH5(06GRFXPHQWDQGPDWHULDOVDUHDSSURSULDWHPRGLILFDWLRQVWRWKH
          0LIHSUH[5(067KH\DUHQHFHVVDU\WRHQVXUHWKDWWKDWWKHULVNVRIVHULRXVFRPSOLFDWLRQVZLOO
          EHPLWLJDWHGDQGWKDWWKHEHQHILWVRI0LIHSUH[ZLOOFRQWLQXHWRRXWZHLJKWKHULVNV

          4. RECOMMENDATIONS

          7KHSURSRVHGDPHQGHGPRGLILFDWLRQVXEPLWWHGE\'DQFRRQ0DUFKLVDFFHSWDEOHDQG
             (b) (6)
                     UHFRPPHQGVDSSURYDORIWKH5(06
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          Appendix
                 
               3UHVFULEHU(QUROOPHQW)RUPFOHDQ
               3DWLHQW$JUHHPHQW)RUPFOHDQ
               5(06'RFXPHQWFOHDQ




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Reference ID: 3909588
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          0RVWUHFHQWPRGLILFDWLRQ
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                             RISK EVALUATION AND MITIGATION STRATEGY (REMS)

          I. GOAL

          7KHJRDORIWKH0LIHSUH[5(06LVWRPLWLJDWHWKHULVNRIVHULRXVFRPSOLFDWLRQV
          DVVRFLDWHGZLWK0LIHSUH[E\
                             
                 D 5HTXLULQJKHDOWKFDUHSURYLGHUVZKRSUHVFULEH0LIHSUH[WREHFHUWLILHGLQWKH
                     0LIHSUH[5(063URJUDP
                 
                 E (QVXULQJWKDW0LIHSUH[LVRQO\GLVSHQVHGLQFHUWDLQKHDOWKFDUHVHWWLQJVE\RUXQGHU
                     WKHVXSHUYLVLRQRIDFHUWLILHGSUHVFULEHU
                     
                 F ,QIRUPLQJSDWLHQWVDERXWWKHULVNRIVHULRXVFRPSOLFDWLRQVDVVRFLDWHGZLWK0LIHSUH[
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          II.REMS ELEMENTS

          AElements to Assure Safe Use

          +HDOWKFDUHSURYLGHUVZKRSUHVFULEH0LIHSUH[PXVWEHVSHFLDOO\FHUWLILHG
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                  D7REHFRPHVSHFLDOO\FHUWLILHGWRSUHVFULEH0LIHSUH[KHDOWKFDUHSURYLGHUVPXVW
                                  
                         L   5HYLHZWKH3UHVFULELQJ,QIRUPDWLRQIRU0LIHSUH[
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                       LL   &RPSOHWHWKHPrescriber Agreement Form%\VLJQLQJWKHPrescriber
                             Agreement FormSUHVFULEHUVDJUHHWKDW
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                                      7KH\KDYHWKHIROORZLQJTXDOLILFDWLRQV
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                                       D   $ELOLW\WRDVVHVVWKHGXUDWLRQRISUHJQDQF\DFFXUDWHO\


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    Reference ID: 3909588
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                                      E   $ELOLW\WRGLDJQRVHHFWRSLFSUHJQDQFLHV
                                      F   $ELOLW\WRSURYLGHVXUJLFDOLQWHUYHQWLRQLQFDVHVRILQFRPSOHWH
                                          DERUWLRQRUVHYHUHEOHHGLQJRUWRKDYHPDGHSODQVWRSURYLGHVXFK
                                          FDUHWKURXJKRWKHUVDQGDELOLW\WRDVVXUHSDWLHQWDFFHVVWRPHGLFDO
                                          IDFLOLWLHVHTXLSSHGWRSURYLGHEORRGWUDQVIXVLRQVDQGUHVXVFLWDWLRQ
                                          LIQHFHVVDU\
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                  E$VDFRQGLWLRQRIFHUWLILFDWLRQKHDOWKFDUHSURYLGHUVPXVWIROORZWKHJXLGHOLQHVIRUXVH
                       RI0LIHSUH[GHVFULEHGEHORZ
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                          L  5HYLHZWKHPatient Agreement FormZLWKWKHSDWLHQWDQGIXOO\H[SODLQWKHULVNV
                              RIWKH0LIHSUH[WUHDWPHQWUHJLPHQ$QVZHUDQ\TXHVWLRQVWKHSDWLHQWPD\KDYH
                              SULRUWRUHFHLYLQJ0LIHSUH[
                         LL  6LJQWKHPatient Agreement FormDQGREWDLQWKH3DWLHQW¶VVLJQDWXUHRQWKH
                              Form
                        LLL 3URYLGHWKHSDWLHQWZLWKDFRS\RIWKHPatient Agreement FormDQG0HGLFDWLRQ
                              *XLGH
                        LY   3ODFHWKHVLJQHGPatient Agreement FormLQWKHSDWLHQW VPHGLFDOUHFRUG
                          Y  5HFRUGWKHVHULDOQXPEHUIURPHDFKSDFNDJHRI0LIHSUH[LQHDFKSDWLHQW¶V
                              UHFRUG
                         YL  5HSRUWDQ\GHDWKVWR'DQFR/DERUDWRULHVLGHQWLI\LQJWKHSDWLHQWE\DQRQ
                              LGHQWLILDEOHUHIHUHQFHDQGWKHVHULDOQXPEHUIURPHDFKSDFNDJHRI0LIHSUH[

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                               LQDFFRUGDQFH ZLWKWKHUHTXLUHPHQWVGHVFULEHGDERYHDQGGHFHUWLI\KHDOWKFDUH
                               SURYLGHUVZKRGRQRWPDLQWDLQFRPSOLDQFHZLWKFHUWLILFDWLRQUHTXLUHPHQWV
                        LL    3URYLGH WKH 3UHVFULELQJ ,QIRUPDWLRQ DQG Prescriber Agreement Form WR
                               KHDOWKFDUHSURYLGHUVZKRLQTXLUHDERXWKRZWREHFRPHFHUWLILHG
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             7KHIROORZLQJPDWHULDOVDUHSDUWRIWKH5(06DQGDUHDSSHQGHG
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           0LIHSUH[PXVWEHGLVSHQVHGWRSDWLHQWVRQO\LQFHUWDLQKHDOWKFDUHVHWWLQJV
              VSHFLILFDOO\FOLQLFVPHGLFDORIILFHVDQGKRVSLWDOVE\RUXQGHUWKHVXSHUYLVLRQRID
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                              PHGLFDORIILFHVDQGKRVSLWDOVE\RUXQGHUWKHVXSHUYLVLRQRIDFHUWLILHG
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                             LL (QVXUHWKDW0LIHSUH[LVQRWGLVWULEXWHGWRRUGLVSHQVHGWKURXJKUHWDLO
                                 SKDUPDFLHVRURWKHUVHWWLQJVQRWGHVFULEHGDERYH
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          0LIHSUH[PXVWEHGLVSHQVHGWRSDWLHQWVZLWKHYLGHQFHRURWKHUGRFXPHQWDWLRQRIVDIHXVH
          FRQGLWLRQV
                  D 7KHSDWLHQWPXVWVLJQDPatient Agreement FormLQGLFDWLQJWKDWVKHKDV
                         L 5HFHLYHGUHDGDQGEHHQSURYLGHGDFRS\RIWKHPatient Agreement Form
                        ii. 5HFHLYHGFRXQVHOLQJIURPWKHSUHVFULEHUUHJDUGLQJWKHULVNRIVHULRXV
                            FRPSOLFDWLRQVDVVRFLDWHGZLWK0LIHSUH[

          B Implementation System
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           'DQFR/DERUDWRULHVPXVWHQVXUHWKDW0LIHSUH[LVRQO\GLVWULEXWHGWRFOLQLFVPHGLFDORIILFHV
              DQGKRVSLWDOVE\RUXQGHUWKHVXSHUYLVLRQRIDFHUWLILHGSUHVFULEHUE\
                 D (QVXULQJWKDWGLVWULEXWRUVZKRGLVWULEXWH0LIHSUH[FRPSO\ZLWKWKHSURJUDP
                    UHTXLUHPHQWVIRUGLVWULEXWRUV7KHGLVWULEXWRUVPXVW
                        L      3XWSURFHVVHVDQGSURFHGXUHVLQSODFHWR
                                    D &RPSOHWHWKHKHDOWKFDUHSURYLGHUFHUWLILFDWLRQSURFHVVXSRQUHFHLSWRI
                                       WKHPrescriber Agreement Form.
                                    E 1RWLI\KHDOWKFDUHSURYLGHUVZKHQWKH\KDYHEHHQFHUWLILHGE\WKH
                                       0LIHSUH[5(063URJUDP
                                    F 6KLS0LIHSUH[RQO\WRFOLQLFVPHGLFDORIILFHVDQGKRVSLWDOVLGHQWLILHG
                                       E\FHUWLILHGSUHVFULEHUVLQWKHVLJQHGPrescriber Agreement Form
                                    G 1RWVKLS0LIHSUH[WRSUHVFULEHUVZKREHFRPHGHFHUWLILHGIURPWKH
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                                    H 3URYLGHWKH3UHVFULELQJ,QIRUPDWLRQDQGPrescriber Agreement FormWR
                                       KHDOWKFDUHSURYLGHUVZKR  DWWHPSWWRRUGHU0LIHSUH[DQGDUHQRW\HW
                                       FHUWLILHGRU  LQTXLUHDERXWKRZWREHFRPHFHUWLILHG
                      LL       3XWSURFHVVHVDQGSURFHGXUHVLQSODFHWRPDLQWDLQDGLVWULEXWLRQV\VWHPWKDWLV
                                VHFXUHFRQILGHQWLDODQGIROORZVDOOSURFHVVHVDQGSURFHGXUHVLQFOXGLQJWKRVH
                                IRUVWRUDJHKDQGOLQJVKLSSLQJWUDFNLQJSDFNDJHVHULDOQXPEHUVSURRIRI
                                GHOLYHU\DQGFRQWUROOHGUHWXUQVRI0LIHSUH[
                      LLL      7UDLQDOOUHOHYDQWVWDIIRQWKH0LIHSUH[5(063URJUDPUHTXLUHPHQWV
                      LY       &RPSO\ZLWKDXGLWVE\'DQFR/DERUDWRULHV)'$RUDWKLUGSDUW\DFWLQJRQ
                                EHKDOIRI'DQFR/DERUDWRULHVRU)'$WRHQVXUHWKDWDOOSURFHVVHVDQG
                                SURFHGXUHVDUHLQSODFHDQGDUHEHLQJIROORZHGIRUWKH0LIHSUH[5(06
                                3URJUDP,QDGGLWLRQGLVWULEXWRUVPXVWPDLQWDLQDSSURSULDWHGRFXPHQWDWLRQDQG
                                PDNHLWDYDLODEOHIRUDXGLWV
                 E (QVXULQJWKDWGLVWULEXWRUVPDLQWDLQVHFXUHDQGFRQILGHQWLDOGLVWULEXWLRQUHFRUGVRIDOO
                    VKLSPHQWVRI0LIHSUH[


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       'DQFR/DERUDWRULHVPXVWPRQLWRUGLVWULEXWLRQGDWDWRHQVXUHFRPSOLDQFHZLWKWKH5(06
         3URJUDP
       'DQFR/DERUDWRULHVPXVWDXGLWQHZGLVWULEXWRUVZLWKLQFDOHQGDUGD\VDIWHUWKHGLVWULEXWRULV
         DXWKRUL]HGWRHQVXUHWKDWDOOSURFHVVHVDQGSURFHGXUHVDUHLQSODFHDQGIXQFWLRQLQJWRVXSSRUW
         WKHUHTXLUHPHQWVRIWKH0LIHSUH[5(063URJUDP'DQFR/DERUDWRULHVZLOOWDNHVWHSVWR
         DGGUHVVGLVWULEXWRUFRPSOLDQFHLIQRQFRPSOLDQFHLVLGHQWLILHG
       'DQFR/DERUDWRULHVPXVWWDNHUHDVRQDEOHVWHSVWRLPSURYHLPSOHPHQWDWLRQRIDQGFRPSOLDQFH
         ZLWKWKHUHTXLUHPHQWVRIWKH0LIHSUH[5(063URJUDPEDVHGRQPRQLWRULQJDQGDVVHVVPHQWRI
         WKH0LIHSUH[5(063URJUDP
       'DQFR/DERUDWRULHVPXVWUHSRUWWR)'$DQ\GHDWKDVVRFLDWHGZLWK0LIHSUH[ZKHWKHURUQRW
         FRQVLGHUHGGUXJUHODWHGDVVRRQDVSRVVLEOHEXWQRODWHUWKDQFDOHQGDUGD\VIURPWKHLQLWLDO
         UHFHLSWRIWKHLQIRUPDWLRQE\WKHDSSOLFDQW7KLVUHTXLUHPHQWGRHVQRWDIIHFWWKHDSSOLFDQW V
         RWKHUUHSRUWLQJDQGIROORZXSUHTXLUHPHQWVXQGHU)'$UHJXODWLRQV

      C. Timetable for Submission of Assessments

      'DQFR/DERUDWRULHVPXVWVXEPLW5(06DVVHVVPHQWVWR)'$RQH\HDUIURPWKHGDWHRIWKHLQLWLDO
      DSSURYDORIWKH5(06  DQGHYHU\WKUHH\HDUVWKHUHDIWHU7RIDFLOLWDWHLQFOXVLRQRIDV
      PXFKLQIRUPDWLRQDVSRVVLEOHZKLOHDOORZLQJUHDVRQDEOHWLPHWRSUHSDUHWKHVXEPLVVLRQWKH
      UHSRUWLQJLQWHUYDOFRYHUHGE\HDFKDVVHVVPHQWVKRXOGFRQFOXGHQRHDUOLHUWKDQGD\VEHIRUHWKH
      VXEPLVVLRQGDWHIRUWKDWDVVHVVPHQW'DQFR/DERUDWRULHVPXVWVXEPLWHDFKDVVHVVPHQWVRWKDWLW
      ZLOOEHUHFHLYHGE\WKH)'$RQRUEHIRUHWKHGXHGDWH




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             'RFXPHQWDWLRQRI6DIH8VH&RQGLWLRQV(7$68'
             3DWLHQW$JUHHPHQW
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             ,PSOHPHQWDWLRQ6\VWHP
             7LPHWDEOHIRU6XEPLVVLRQRI$VVHVVPHQWV
                $VVHVVPHQW3ODQ
                  &21&/86,21
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                  $SSHQGL[
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            x
                    (b) (6)
                    0LIHSUH[3RVWPDUNHWLQJ6DIHW\5HYLHZGDWHG$XJXVW
            x
                                      (b) (6)
                $GGHQGXPWR                  5HYLHZRI<HDU5(06$VVHVVPHQW5HSRUWGDWHG0DUFK
            x
                   (b) (6)
                           GUDIW&OLQLFDO5HYLHZIRU0LIHSUH[1'$3$6GDWHG0DUFK
                

            3. OVERVIEW OF RATIONALE FOR PROPOSED REMS MODIFICATIONS
            2Q0D\'DQFRVXEPLWWHGDQHIILFDF\SULRUDSSURYDOVXSSOHPHQW 3$6 DQG
            5(06PRGLILFDWLRQ,Q3$6'DQFRLVVHHNLQJDSSURYDORIFHUWDLQFKDQJHVLQFOXGLQJ
                x       'RVLQJRIPJRUDOO\[LQVWHDGRIPJRUDOO\[
                x       ([WHQVLRQRIPD[LPXPJHVWDWLRQDODJH
                x       ,QFOXVLRQRIPLVRSURVWROLQWKHLQGLFDWLRQVWDWHPHQW
                x       ,QFOXVLRQRILQIRUPDWLRQUHJDUGLQJ3HGLDWULF5HVHDUFK(TXLW\$FW 35($ GDWD
                x
                                                                                            (b) (4)
                        5HSODFHPHQWRIWKHWHUP³SK\VLFLDQ´ZLWK³                                  LQWKH3,DQG
                        WKH5(063UHVFULEHU¶V$JUHHPHQW
                x       5HPRYDORIWKHSKUDVH³8QGHU)HGHUDO/DZ´IURPWKH5(063UHVFULEHU¶V$JUHHPHQW
                x       5HYLVLRQVWRWKH3DWLHQW$JUHHPHQW)RUPWRUHIOHFWSURSRVHGFKDQJHVLQWKH3,
            7KH6SRQVRU¶VSURSRVHGFKDQJHVLQWKHHIILFDF\VXSSOHPHQWSURPSWHGUHYLVLRQVWRWKH
            0LIHSUH[5(06PDWHULDOV'XULQJUHYLHZRIWKHHIILFDF\VXSSOHPHQWDQGSURSRVHG5(06
                                        (b) (6)
            0RGLILFDWLRQV                     HYDOXDWHGWKHFXUUHQW5(06SURJUDPWRGHWHUPLQHZKHWKHURWKHU
            FKDQJHVZHUHDSSURSULDWH$VSDUWRIWKLVHYDOXDWLRQWKHUHYLHZWHDPWRRNLQWRFRQVLGHUDWLRQ
                              (b) (6)
            WKHUHFHQW               UHYLHZRIWKH0LIHSUH[5(06$VVHVVPHQWFRPSOHWHGRQ2FWREHU
            WKHDGGHQGXPWRWKH2FWREHUUHYLHZFRPSOHWHGRQ0DUFKVDIHW\GDWD
            JDWKHUHGRYHUWKHSDVW\HDUVVLQFHDSSURYDODQGLQIRUPDWLRQUHJDUGLQJFXUUHQWFOLQLFDO
            SUDFWLFH
                                                                      (b) (6)
            %DVHGRQWKHDYDLODEOHGDWDDQGLQIRUPDWLRQ         FRQWLQXHVWREHOLHYHWKDWD5(06LV
            QHFHVVDU\WRHQVXUHWKHEHQHILWVRXWZHLJKWKHULVNVKRZHYHUZHUHFRPPHQGWKDWVRPH
            HOHPHQWVEHPRGLILHGRUUHPRYHG$OORIWKHPRGLILFDWLRQVLQWKLVUHYLHZZHUHGLVFXVVHGZLWK
                 (b) (6)
                         7KHUHFRPPHQGHGPRGLILFDWLRQVDQGVXSSRUWLQJUDWLRQDOHIRUHDFKDUHIXUWKHU
            GHVFULEHGLQ6HFWLRQVDQGEHORZ

            4. SPONSOR PROPOSED MODIFICATIONS AND RATIONALE

            4.1. REMS ELEMENTS

             4.1.1. CERTIFICATION OF PRESCRIBERS - ETASU A

            4.1.1.1. PRESCRIBER’S AGREEMENT
            'DQFRLVSURSRVLQJWZRPRGLILFDWLRQVWRWKH3UHVFULEHU¶V$JUHHPHQWIRUP7KHILUVWSURSRVDO
            LVWRUHPRYHWKHSKUDVH³8QGHU)HGHUDOODZ´IURPWKHGRFXPHQW7KLVSKUDVHDSSHDUVWZLFHLQ
            WKH3UHVFULEHU¶V$JUHHPHQW
                  Under Federal law0LIHSUH[PXVWEHSURYLGHGE\RUXQGHUWKHVXSHUYLVLRQRID
                   SK\VLFLDQZKRPHHWVWKHIROORZLQJTXDOLILFDWLRQV«
                  Under Federal lawHDFKSDWLHQWPXVWEHSURYLGHGZLWKD0HGLFDWLRQ*XLGH


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            FKDQJLQJWKHQDPHRIWKHIRUPIURP³3UHVFULEHU¶V$JUHHPHQW´WR³3UHVFULEHU$JUHHPHQW
            )RUP´WREHFRQVLVWHQWZLWKWKHWHUPLQRORJ\XVHGLQRWKHUVLPLODU5(063URJUDPV7KHWHUP
            “physician”VKRXOGEHUHSODFHGDVSURSRVHGE\WKH6SRQVRU+RZHYHUWKHUHYLHZWHDP
            UHFRPPHQGVWKHSKUDVH³healthcare provider who prescribes´LQOLHXRIWKH6SRQVRUSURSRVHG
                                        (b) (4)
            ³                                   WRPRUHFORVHO\UHIOHFWWKHVWDWXWRU\SURYLVLRQDQGWRDOLJQZLWK
            WKLVUHYLVLRQLQWKH0LIHSUH[3UHVFULELQJ,QIRUPDWLRQ 3, ZKLFKZDVEDVHGRQLQIRUPDWLRQLQ
            WKHVXSSOHPHQW $GGLWLRQDOFKDQJHVDUHLQWHQGHGWRLPSURYHWKHIORZRIWKHGRFXPHQW6HH
            WKHDSSHQGHGUHGOLQHGGRFXPHQWIRUIXUWKHUGHWDLOV
            &RQVLVWHQWZLWKWKHODEHOLQJUHYLVLRQVLQWKHHIILFDF\VXSSOHPHQWWKHODQJXDJHLQWKH
            3UHVFULEHU(QUROOPHQW)RUPDERXWWKHJHVWDWLRQDODJHVKRXOGEHFKDQJHGWRPDWFKWKHODEHOLQJ
            EHLQJDSSURYHG

             5.1.3. DRUG DISPENSED ONLY IN CERTAIN HEALTH CARE SETTINGS - ETASU C

            1RFKDQJHVWR(7$68&DUHSURSRVHG

             5.1.4. DOCUMENTATION OF SAFE USE CONDITIONS - ETASU D

            5.1.4.1.            PATIENT AGREEMENT

            3HUWKH0LIHSUH[5(06D3DWLHQW$JUHHPHQWIRUPLVUHTXLUHGWREHVLJQHGDQGSODFHGLQWKH
            SDWLHQW¶VPHGLFDOUHFRUGDVGRFXPHQWDWLRQRIVDIHXVHFRQGLWLRQVIRU0LIHSUH[7KHUHYLHZ
            WHDPUHFRPPHQGVUHPRYDORIWKH3DWLHQW$JUHHPHQWIRUPIURPWKH0LIHSUH[5(067KLV
            UHFRPPHQGDWLRQLVEDVHGLQSDUWRQWKHIDFWWKDWWKHFXUUHQW3DWLHQW$JUHHPHQWLVGXSOLFDWLYHRI
            WKHLQIRUPHGFRQVHQWDQGFRXQVHOLQJSURFHVVHVWKDWWDNHSODFHLQWKH86FRQVLVWHQWZLWK
            PHGLFDOVWDQGDUGRIFDUHDQGFXUUHQWFOLQLFDOSUDFWLFHJXLGHOLQHVIRUDERUWLRQSURYLGHUV )RU
            H[DPSOHWKH1DWLRQDO$ERUWLRQ)HGHUDWLRQ 1$) FOLQLFDOSUDFWLFHJXLGHOLQHVVWDWHWKDW
            ³REWDLQLQJLQIRUPHGFRQVHQWDQGDVVHVVLQJWKDWWKHGHFLVLRQWRKDYHDQDERUWLRQLVPDGHIUHHO\
            E\WKHSDWLHQWDUHHVVHQWLDOSDUWVRIWKHDERUWLRQSURFHVV´7KH1$)JXLGHOLQHVDOVRLQFOXGHD
            VWDQGDUGVWDWLQJWKDWGRFXPHQWDWLRQPXVWVKRZWKDWWKHSDWLHQWDIILUPVWKDWVKHXQGHUVWDQGVWKH
            SURFHGXUHDQGLWVDOWHUQDWLYHVWKHSRWHQWLDOULVNVDQGEHQHILWVDQGWKDWKHUGHFLVLRQLV
            YROXQWDU\ 7KH1$)LVDSURIHVVLRQDODVVRFLDWLRQDFRQGLWLRQRIPHPEHUVKLSUHTXLUHVSHULRGLF
            TXDOLW\DVVXUDQFHVLWHYLVLWVDQGPHPEHUVPXVWDJUHHWRDGKHUHWRWKH&OLQLFDO3ROLF\
            *XLGHOLQHVSXEOLVKHGE\WKH1$) :KHQKHDOWKFDUHSURYLGHUVDW1$)DIILOLDWHGIDFLOLWLHVZHUH
            VXUYH\HGEHWZHHQDQGRIKHDOWKFDUHSURYLGHUVLQGLFDWHGWKH\SURYLGHGSDWLHQW
            FRXQVHOLQJDQGREWDLQHGDQGGRFXPHQWHGLQIRUPHGFRQVHQW 7KHUHYLHZWHDPLVDZDUHWKDW
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                             GUDIW&OLQLFDO5HYLHZIRU0LIHSUH[ 1'$ 3$6'DWHG0DUFK
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            $&2*0HGLFDOPDQDJHPHQWRIILUVWWULPHVWHUDERUWLRQ$&2*3UDFWLFH%XOOHWLQ2EVWHWULFVDQG
            *\QHFRORJ\  
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             1DWLRQDO$ERUWLRQ)HGHUDWLRQ&OLQLFDO3ROLF\*XLGHOLQHV IRUDERUWLRQFDUH 5HYLVHGHGLWLRQSDJHV
            DFFHVVHGRQWKHLQWHUQHWDWKWWSSURFKRLFHRUJZSFRQWHQWXSORDGV 1$) &3*VSGIRQ0DUFK
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             1DWLRQDO$ERUWLRQ)HGHUDWLRQ0HPEHUVKLSLQIRUPDWLRQDFFHVVHGRQWKHLQWHUQHWDWKWWSSURFKRLFHRUJKHDOWK
            FDUHSURIHVVLRQDOVQDIPHPEHUVKLSRQ0DUFK
            
            *RXOG+3HUUXFFL$%DUDU56LQNIRUG')RVWHU'3DWLHQW(GXFDWLRQDQG(PRWLRQDO6XSSRUW3UDFWLFHVLQ
            $ERUWLRQ&DUH)DFLOLWLHVLQWKH8QLWHG6WDWHV:RPHQ¶V+HDOWK,VVXHV


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            3ODQQHG3DUHQWKRRGRI$PHULFDKDVLQIRUPHGFRQVHQWIRUPVGHVFULELQJWKHULVNVDVVRFLDWHG
            ZLWKPHGLFDODERUWLRQV7KH1$)DIILOLDWHGPHPEHUVDQG3ODQQHG3DUHQWKRRGRI$PHULFD
                                   (b)
            IDFLOLWLHVDFFRXQWIRU (4) RI0LIHSUH[XVH
            7KHLQIRUPDWLRQLQWKH0LIHSUH[5(063DWLHQW$JUHHPHQWIRUPLVGXSOLFDWLYHRIWKHLQIRUPHG
            FRQVHQWSURFHVVWKDWLVIROORZHGDQGGRFXPHQWHGE\WKHVHSURYLGHUVZKRDOVRSURYLGHDERUWLRQ
            FRXQVHOLQJDQGHGXFDWLRQDERXWDGYHUVHHYHQWV$GGLWLRQDOO\WKH0*ZKLFKLVUHTXLUHGWREH
            SURYLGHGXQGHU&)5FRQWDLQVWKHVDPHULVNLQIRUPDWLRQDGGUHVVHGLQWKH3DWLHQW
            $JUHHPHQWIRUPDQGZLOOEHSURYLGHGDWWKHWLPHWKHPHGLFDWLRQLVGLVSHQVHGWRWKHSDWLHQW
            %DVHGRQWKLVLQIRUPDWLRQWKH3DWLHQW$JUHHPHQWIRUPLVQRWQHFHVVDU\WRHQVXUHWKHEHQHILWV
            RXWZHLJKWKHULVNVRI0LIHSUH[
            )LQDOO\WKH86PDUNHWLQJKLVWRU\RI0LIHSUH[VSDQVRYHUILIWHHQ\HDUV'XULQJWKLVSHULRGRI
            VXUYHLOODQFHWKHVDIHW\SURILOHRI0LIHSUH[KDVEHHQZHOOFKDUDFWHUL]HGDQGVHULRXVDGYHUVH
            HYHQWVKDYHUDUHO\RFFXUUHG 

            5.2. REMS DOCUMENT

            7KH5(06GRFXPHQWLVEHLQJUHYLVHGWRUHIOHFWWKHFKDQJHVGHVFULEHGDERYHDVZHOODVWR
            UHIOHFWWKH$JHQF\ VFXUUHQWWKLQNLQJRQWKHODQJXDJHDQGIORZLQ5(06GRFXPHQWV7KH
            FKDQJHVWRWKHGLIIHUHQWVHFWLRQVRIWKH5(06GRFXPHQWDUHGHVFULEHGIXUWKHUEHORZ)RU
            DGGLWLRQDOGHWDLOVVHHWKHUHGOLQHGDQGFOHDQ5(06GRFXPHQWDSSHQGHGWRWKLVUHYLHZ

             5.2.1. GOALS

            7KHUHYLHZWHDPLVUHFRPPHQGLQJPRGLILFDWLRQRIWKH0LIHSUH[5(06JRDOV&XUUHQWO\WKH
            JRDOVDUH $ WRSURYLGHLQIRUPDWLRQWRSDWLHQWVDERXWWKHEHQHILWVDQGULVNVRI0LIHSUH[EHIRUH
            WKH\PDNHDGHFLVLRQZKHWKHUWRWDNHWKHGUXJDQG % WRPLQLPL]HWKHULVNRIVHULRXV
            FRPSOLFDWLRQVE\UHTXLULQJSUHVFULEHUVWRFHUWLI\WKDWWKH\DUHTXDOLILHGWRSUHVFULEH0LIHSUH[
            DQGDUHDEOHWRDVVXUHSDWLHQWDFFHVVWRDSSURSULDWHPHGLFDOIDFLOLWLHVWRPDQDJHDQ\
                                         (b) (6)
            FRPSOLFDWLRQV6LQFH               LVUHFRPPHQGLQJUHPRYDORIWKH3DWLHQW$JUHHPHQWIURPWKH
                         (b) (6)
            5(06               UHFRPPHQGVUHYLVLQJWKH5(06JRDOVWRUHIOHFWWKLVFKDQJH7KHUHYLVHGJRDO
            LVWRHQVXUHWKDWSUHVFULEHUVDUHDZDUHRIWKHULVNVRIVHULRXVFRPSOLFDWLRQVDVVRFLDWHGZLWKWKH
            XVHRI0LIHSUH[DQGWKDWLWFDQRQO\EHGLVSHQVHGLQFHUWDLQKHDOWKFDUHVHWWLQJV7KHJRDO
            ZRXOGEHPRGLILHGWRUHDG
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             2¶&RQQHOO.-RQHV+(6LPRQ06DSRUWD93DXO0/LFKWHQEHUJ(6)LUVWWULPHVWHUVXUJLFDODERUWLRQ
            SUDFWLFHVDVXUYH\RI1DWLRQDO$ERUWLRQ)HGHUDWLRQPHPEHUV&RQWUDFHSWLRQ
                                                (b) (6)       (b) (6)                                                                   (b) (6)
                                                                        0LIHSUH[3RVWPDUNHWLQJ6DIHW\5HYLHZ                                 GDWHG$XJXVW
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             $&2*0HGLFDOPDQDJHPHQWRIILUVWWULPHVWHUDERUWLRQ$&2*3UDFWLFH%XOOHWLQ2EVWHWULFVDQG
            *\QHFRORJ\  
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             1DWLRQDO$ERUWLRQ)HGHUDWLRQ&OLQLFDO3ROLF\*XLGHOLQHV IRUDERUWLRQFDUH 5HYLVHGHGLWLRQSDJHV
            DFFHVVHGRQWKHLQWHUQHWDWKWWSSURFKRLFHRUJZSFRQWHQWXSORDGV 1$) &3*VSGI



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            ³7KHJRDORIWKH0LIHSUH[5(06LVWRPLWLJDWHWKHULVNRIVHULRXVFRPSOLFDWLRQVDVVRFLDWHG
            ZLWK0LIHSUH[E\
                       D 5HTXLULQJKHDOWKFDUHSURYLGHUVZKRSUHVFULEH0LIHSUH[WREHFHUWLILHGLQWKH
                           0LIHSUH[5(063URJUDP
                       E (QVXULQJWKDW0LIHSUH[LVRQO\GLVSHQVHGLQFHUWDLQKHDOWKFDUHVHWWLQJVXQGHU
                           WKHVXSHUYLVLRQRIDFHUWLILHGSUHVFULEHU´

             5.2.2. MEDICATION GUIDE
                (b) (6)
                    UHFRPPHQGVWKLVHOHPHQWEHUHPRYHGIURPWKH5(06GRFXPHQW6HH6HFWLRQIRU
            UDWLRQDOH

             5.2.3. CERTIFICATION OF PRESCRIBERS - ETASU A

            7KHODQJXDJHLQWKH5(06GRFXPHQWVWDWLQJWKDWFHUWLILHGSUHVFULEHUVPXVWREWDLQDFRPSOHWHG
            3DWLHQW$JUHHPHQWIRUPIURPWKHSDWLHQWLVUHFRPPHQGHGWREHUHPRYHG VHH6HFWLRQ
            IRUUDWLRQDOH ,QDGGLWLRQHGLWVWRDOLJQWKH5(06GRFXPHQWZLWKODQJXDJHLQWKHUHYLVHG3,
            DUHEHLQJPDGH)LQDOO\ZHUHFRPPHQGWKDWWKLVVHFWLRQRIWKH5(06GRFXPHQWEHUHYLVHG
            DQGHGLWHGWRUHIOHFWWKH$JHQF\ VFXUUHQWWKLQNLQJRQWKHPRVWDSSURSULDWHODQJXDJHDQGIORZ
            RI5(06GRFXPHQWV+RZHYHUWKHUHTXLUHPHQWIRU3UHVFULEHU&HUWLILFDWLRQUHPDLQVDQGWKH
            TXDOLILFDWLRQVRIDKHDOWKFDUHSURYLGHUZKRSUHVFULEHV0LIHSUH[KDYHQRWFKDQJHGDQGFRQWLQXH
            WREHQHFHVVDU\WRHQVXUHWKHEHQHILWVRXWZHLJKWKHULVNV

             5.2.4. DRUG DISPENSED ONLY IN CERTAIN HEALTH CARE SETTINGS - ETASU C

            7KLVVHFWLRQRIWKH5(06ZDVHGLWHGWRSURYLGHFODULILFDWLRQRQZKHUH0LIHSUH[ZLOOQRWEH
            GLVSHQVHG
                                                                                   (b) (6)
            ,QDGGLWLRQWKH5(06GRFXPHQWZDVUHYLVHGDQGHGLWHGWRUHIOHFW       FXUUHQWWKLQNLQJ
            RQWKHODQJXDJHDQGIORZRI5(06GRFXPHQWV7KHVHFKDQJHVDUHQRWLQWHQGHGWREH
            VXEVWDQWLYH

             5.2.5. DOCUMENTATION OF SAFE USE CONDITIONS -ETASU D

            7KLVHOHPHQWLVEHLQJUHFRPPHQGHGIRUUHPRYDOIURPWKH5(06GRFXPHQW6HHVHFWLRQ
            IRUUDWLRQDOH

             5.2.6. IMPLEMENTATION SYSTEM

            7KLVVHFWLRQRIWKH5(06GRFXPHQWLVSURSRVHGWREHUHYLVHGDQGHGLWHGWRUHIOHFWWKH
            $JHQF\ VFXUUHQWWKLQNLQJRQWKHODQJXDJHDQGIORZRI5(06GRFXPHQWV

             5.2.7. TIMETABLE FOR SUBMISSION OF ASSESSMENTS

            7KLVVHFWLRQRIWKH5(06GRFXPHQWLVSURSRVHGWREHUHYLVHGDQGHGLWHGWRUHIOHFWWKH
            $JHQF\ VFXUUHQWWKLQNLQJRQWKHODQJXDJHDQGIORZRI5(06GRFXPHQWV

            5.3. ASSESSMENT PLAN


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            &XUUHQWO\WKH5(06$VVHVVPHQW3ODQUHTXLUHV'DQFRWRVXEPLWWKHIROORZLQJDGYHUVHHYHQW
            LQIRUPDWLRQDVSDUWRIWKHSHULRGLF5(06$VVHVVPHQW5HSRUW
            
                   &RSLHVRI0HG:DWFKIRUPVIRUHDFKRIWKHIROORZLQJDGYHUVHHYHQWVGXULQJWKH
                   DVVHVVPHQWSHULRGDQGIRUHDFKRIWKHIROORZLQJDGYHUVHHYHQWVWKHFXPXODWLYHQXPEHU
                   IURPWKHGDWHRIDSSURYDORI0LIHSUH[XSWRWKHDSSURYDOGDWHRIWKH5(06WKHQXPEHU
                   IRUHDFKUHSRUWLQJSHULRGDQGWKHFXPXODWLYHQXPEHUVLQFHWKHDSSURYDOGDWHRI
                   0LIHSUH[
                           D2QJRLQJSUHJQDQFLHVQRWWHUPLQDWHGVXEVHTXHQWWRWKHFRQFOXVLRQRIWKH
                           WUHDWPHQWSURFHGXUH
                           E:RPHQKRVSLWDOL]HGGXHWRFRPSOLFDWLRQV
                           F:RPHQUHTXLULQJWUDQVIXVLRQ V RIWZRRUPRUHXQLWVRISDFNHGFHOOVRU
                           ZKROHEORRGRUKDYLQJDKHPRJORELQRIJPG/RUOHVVRUDKHPDWRFULWRI
                           RUOHVV
                           G6HULRXVLQIHFWLRQVHSVLV
                           H'HDWK
                           I2WKHUVHULRXVDQGXQH[SHFWHGDGYHUVHHYHQWV
                    3HUVHFWLRQ J  % DQG & LQIRUPDWLRQRQWKHVWDWXVRIDQ\SRVWDSSURYDO
                    VWXG\RUFOLQLFDOWULDOUHTXLUHGXQGHUVHFWLRQ R RURWKHUZLVHXQGHUWDNHQWR
                    LQYHVWLJDWHDVDIHW\LVVXH
            7KLVLQIRUPDWLRQLVEHLQJVXEPLWWHGWRWKH$JHQF\WKURXJKRWKHUSDWKZD\VLQFOXGLQJ
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            VSRQWDQHRXVDGYHUVHHYHQWUHSRUWLQJDQGWKHDQQXDOUHSRUW7KHUHIRUH          LV
            UHFRPPHQGLQJLWEHUHPRYHGIURPWKH$VVHVVPHQW3ODQ
            7KHUHYLVHG$VVHVVPHQW3ODQLVDVIROORZV
            REMS Assessment Plan 
                1XPEHURISUHVFULEHUVHQUROOHG FXPXODWLYH 
                1XPEHURIQHZSUHVFULEHUVHQUROOHGGXULQJUHSRUWLQJSHULRG
                1XPEHURISUHVFULEHUVRUGHULQJ0LIHSUH[GXULQJUHSRUWLQJSHULRG
                1XPEHURIKHDOWKFDUHSURYLGHUVZKRDWWHPSWHGWRRUGHU0LIHSUH[ZKRZHUHQRW
                   HQUROOHGGHVFULEHDFWLRQVWDNHQ GXULQJUHSRUWLQJSHULRGDQGFXPXODWLYH 
                1XPEHURIZRPHQH[SRVHGWR0LIHSUH[ GXULQJUHSRUWLQJSHULRGDQGFXPXODWLYH 
                6XPPDU\DQGDQDO\VLVRIDQ\SURJUDPGHYLDWLRQVDQGFRUUHFWLYHDFWLRQWDNHQ
                %DVHGRQWKHLQIRUPDWLRQUHSRUWHGDQDVVHVVPHQWDQGDQDO\VLVRIZKHWKHUWKH5(06LV
                   PHHWLQJLWVJRDOVDQGZKHWKHUPRGLILFDWLRQVWRWKH5(06DUHQHHGHG

            6. CONCLUSION
            $5(06IRU0LIHSUH[LVQHFHVVDU\WRHQVXUHWKDWWKHEHQHILWVRXWZHLJKWKHULVNV7KHUHYLHZ
            WHDPDQG6SRQVRUKDYHSURSRVHGPRGLILFDWLRQVWKDWFRQWLQXHWRHQVXUHWKDWWKHEHQHILW
            RXWZHLJKVWKHULVNZKLOHXSGDWLQJWKH5(06LQOLJKWRIFXUUHQWPHGLFDOSUDFWLFHDQGWR
            SURYLGHFODULI\LQJODQJXDJHLQWKH5(06GRFXPHQWV
            7KHPRGLILFDWLRQVWRWKH0LIHSUH[5(06LQFOXGHWKHVSRQVRU¶VSURSRVHGPRGLILFDWLRQVDQG
            DGGLWLRQDOFKDQJHVUHFRPPHQGHGE\WKHUHYLHZWHDPDQGLQFOXGHWKHIROORZLQJUHYLVLRQRIWKH
            5(06JRDOVUHPRYDORIWKH0* LWZLOOUHPDLQDVSDUWRIODEHOLQJ DQGWKH3DWLHQW$JUHHPHQW
            DQGFKDQJHVWRWKH3UHVFULEHU(QUROOPHQW)RUP

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            7. RECOMMENDATIONS
                 (b) (6)
                   UHFRPPHQGVWKHFKDQJHVLQWKHDWWDFKHGUHGOLQHG5(06GRFXPHQWDQGPDWHULDOV
                                (b) (6)
            ZKLFKUHSUHVHQW            SURSRVHGFKDQJHVWRWKH5(06DVDUHVXOWRIWKLV5(06
            0RGLILFDWLRQ5HYLHZ

            8. APPENDIX

                         3UHVFULEHU(QUROOPHQW)RUPUHGOLQHG
                         3UHVFULEHU(QUROOPHQW)RUPFOHDQ
                         5(06'RFXPHQWUHGOLQHG
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